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                                                                   07/08/2022
                                                             U.S. DISTRICT COURT
                                                           SOUTHERN DISTRICT OF INDIANA
                                                              Roger A.G. Sharpe, Clerk




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